              Case 3:15-cv-05434-BHS Document 16 Filed 09/28/15 Page 1 of 5




                                                     HONORABLE BENJAMIN H. SETTLE
 1
 2
 3
 4
 5
 6
 7                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                       AT TACOMA

 9
     “AMY”, “VICKY” and “ALICE”,
                                                            NO. 3:15-CV-05434-BHS
10
                                  Plaintiffs,
11
     v.                                                     DECLARATION OF ROBERT Y.
12                                                          LEWIS IN SUPPORT OF
     DOUGLAS LANE PROBSTFELD,                               MOTION TO PROCEED WITH
13                                                          PSEUDONYMS
                                  Defendant.
14
                                                            NOTE ON MOTION CALENDAR:
15                                                          OCTOBER 16, 2015

16
17
              I, ROBERT Y. LEWIS, hereby declare under penalty of perjury that the following
18
19   is true and correct:

20                  I represent the Plaintiff “Amy” in this action (Amy).
21                  I make this Declaration in support of Amy’s motion to proceed via
22
              pseudonym herein.
23
                    I have good reason to believe and do believe that, as explained below
24
     that: (i) the Defendant is indebted to Amy pursuant to 18 U.S.C. §§ 2225(a) and
25

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     2255(A)(f) which provide statutory compensation to a plaintiff who is a victim of a
 1
 2   defendant’s transportation and possession of child pornography, with respect to

 3   Section 2255 in an amount not less than $150,000.00 over and above all proper

 4   credits and offsets and, (ii) that Amy will suffer substantial harm should her request to
 5   proceed via pseudonym be denied.          Further, Amy has received notice from the
 6
     Department of Justice that she is a victim of Defendant Probstfeld’s criminal offense
 7
     and the District Court included restitution for Amy as a part of Defendant’s sentence in
 8
     the criminal matter.
 9
10                               THE BASIS FOR THE DECLARATION

11
            In making this Declaration and coming to the above stated belief, I have relied
12
            on my personal knowledge of the following documents:
13
14          (i)     Amy’s Victim Impact Statement, attached hereto as Exhibit 1 (Ex.1);

15          (ii)    Psychiatric Evaluation of Amy by Joyanna L. Silberg (Silberg Report),
16
                    dated November 21, 2008, attached hereto as Exhibit 2 (Ex. 2); and
17
            (iii)   Smith Economics Group, Ltd. Report determination of Amy’s economic
18
                    and value of life damages (SEG Report), dated September 15, 2008,
19
                    attached hereto as Exhibit 3 (Ex. 3);
20
21
                    As Amy explained in her Victim Impact Statement, when she was four
22
            years old, she was raped and sexually exploited in order to produce child sex
23
            abuse images for consumers and collectors of child pornography, attached
24
            hereto as (Ex. 1. p.1);
25

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                The primary reason Amy was raped and forced to endure cunnilingus,
 1
 2       fellatio and digital penetration was to provide child pornography for an end user-

 3       collector whose demand for child sex abuse images directly led to her physical

 4       and psychological abuse and exploitation.
 5
                As Amy explained in her victim impact statement:
 6
 7              I want it all erased. I want it all stopped. But I am powerless to
                stop it just like I was powerless to stop [the abuse]. The truth is, I
 8              am being exploited and used every day and every night somewhere
                in the world by someone. How can I ever get over this when the
 9              crime that is happening to me will never end? How can I get over
                this when the shameful abuse I suffered is out there forever and
10              being enjoyed by sick people?
11       Ex. 1, p.1 & p.3).
12              As Dr. Silberg explained in the Silberg Report, a true and correct copy
13       submitted at Ex. 2)
14
                [A]t the age of 17, Amy was informed through legal notifications
15              about the widespread presence of her picture on the internet,
                illustrating to her that in some ways the sexual abuse of her has
16              never really ended. This knowledge further exacerbated her
                symptoms, interfered with her ability to overcome the increasing
17
                symptoms of post traumatic stress, and impeded her ability to move
18              on with her life.

19              ***
                [T]here has been a resurgence of the trauma with her ongoing
20              realization that her image is being traded on the internet.
                Specifically, Amy mentions fear of discovery, shame, fears of the
21              traumatization of others, and renewed self-blame about her
                participation.
22
         Ex. 2, p.3 & p.4); see also Ex. 2, p.10 (“The ongoing awareness that the
23
         pictures are out there interferes significantly with the therapeutic resolution of
24
25

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 1       these problems, as she lives in an enduring state of feeling that she can never

 2       really escape or get away from he abuse.”)

 3              As Amy explained in her Victim Impact Statement, “Every day of my life I

 4       live in constant fear that someone will see my pictures and recognize me and

 5       that I will be humiliated again. It hurts me to know someone is looking at them -

 6       at me - when I was just a little girl being abused for the camera.” (Ex. 1, p.1).

 7              After evaluating Amy and reviewing relevant records, Dr. Silberg drew

 8       the following conclusions to a reasonable degree of psychological certainty:

 9
                The sexual assault perpetrated against Amy, and its continued
10              memorialization in pictures which continue to be traded and used
11              affect her in a variety of ways, and has long lasting and life
                changing impact on her.
12
                Specifically, she has experienced significant effects in the following
13              areas: Mood regulation, cognitive distortions, feelings of shame,
                self-blame, and guilt, self-esteem, alcohol abuse, dissociation,
14              academic progress, interpersonal relationships, and vocational
15              success. In addition, despite some resolution of Amy’s post-
                traumatic symptoms when she was younger, Amy continues to
16              have the hallmark feature of posttraumatic stress disorder which
                includes intrusive images, attempts at avoidance and denial, and
17              hyper arousal.
18              These posttraumatic symptoms and effects of sexual abuse are
19              more resistant to treatment than those that would normally follow a
                time limited trauma, as her awareness of the continued existence of
20              the picture and their criminal use in a widespread way leads to an
                activation in these symptoms. She is flooded with memories of
21              what happened to her, since she knows at any moment others
                might see these. She tries to avoid this knowledge with unhealthy
22
                coping strategies …and she is overwhelmed with feelings of
23              shame, self-blame and guilt. Planning for the future becomes
                difficult as planning involves thinking and processing her fears of
24              the reality of these images, that she does not want to face or re-
                experience.      Difficulty with planning and the presence of
25

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                dissociation has led to her inability to follow through with
 1              educational and vocational plans. Furthermore Amy has ongoing
 2              problems with trust in relationships which has interfered with
                working with authorities in jobs and interpersonal relationships.
 3
 4       (Ex 2, p.8).

 5              Also submitted at Exhibit 3 is a true and correct copy of the SEG Report.

 6       That report calculated that to age 67 Amy’s discounted, present value, net

 7       economic losses included (i) earning of $2,855,173 (assuming work to age 67);

 8       and, (ii) costs of counseling of $512,681. (Ex. 3, p.11).

 9              In addition, the SEG Report found that Amy will suffer $8.8 million in

10       diminished value and enjoyment of life. (Id.)

11
                DATED this 28th day of September, 2015, at New York, New York.
12
13                                                 MARSH LAW FIRM PLLC
14                                                 By_s/Robert Y. Lewis______________
15                                                 Robert Y. Lewis, Pro Hac Vice
                                                   228 East 45th Street, 17th Floor
16                                                 New York, NY 10017
                                                   Telephone / Fax: (212) 372-3030
17                                                 Email: robertlewis@marshlaw.us
18                                                 Of Attorneys for Plaintiff Amy
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